Case 2:23-cv-06188-JMW          Document 11-6         Filed 08/20/23      Page 1 of 13 PageID #: 221




                                     SHAREHOLDERS AGREEMENT

         AGREEMENT made this             day of December 2022, among Robert Urrutia ("Urrutia"),

  Anthony Deo ("Deo") and Superb Motors, Inc., a New York Corporation with its principal place of

  business located at 15 Lancaster Street, Lynbrook, New York 11563 (hereinafter referred to as

  the "Corporation,"). Urrutia and Clarke are hereinafter sometimes referred to individually as a

  "Shareholder" and collectively as the "Shareholders". The Corporation and the Shareholders are

  hereinafter sometimes referred to individually as a "Party" or collectively as the "Parties".


                                         W I T N E S S E T H:


         WHEREAS, the Shareholders own all of the issued stock of the Corporation; and

         WHEREAS, the Parties wish to set forth herein their mutual rights and obligations with

  respect to the stock of the Corporation and the management of the Corporation's affairs.

         NOW, THEREFORE, in consideration of the mutual covenants and conditions contained

  herein the Parties agree as follows:

  1.     ELECTION OF OFFICERS AND MANAGEMENT

         (A)     The Parties acknowledge that effective December__, 2022, the outstanding

  shares of the Corporation's stock are owned by the Shareholders as follows:

                 Robert A. Urrutia       -       51%

                 Anthony Deo             -       49%

         (B)     All Shareholders owning Voting Stock (as defined herein) of the Corporation agree

  to vote their respective shares so as to elect each of them as a director of each Corporation, with

  Urrutia as President and Deo as Secretary/Treasurer. The said Shareholders agree that this

  provision shall remain in full force and effect thereafter as to each such Shareholder unless or

  until the death of such Shareholder, voluntary relinquishment of such office or the sale of all the

  shares held by him or her.
Case 2:23-cv-06188-JMW          Document 11-6        Filed 08/20/23      Page 2 of 13 PageID #: 222



         (C)     Each of the Shareholders agrees that (as long as he agrees to accept the duties

  and responsibilities set forth below), Robert Urrutia, as President of the Corporation, in addition

  to all powers and duties he may have by operation of law or pursuant to the by-laws of the

  Corporation, shall have final authorization on the following matters, which the President alone,

  and independent of the Shareholders, Directors and Officers of the Corporation, may exercise:

                 (i)     the right to make all decisions concerning day-to-day operations of the

         Corporation, or to delegate such authority as the President desires;

                 (ii)    the right to hire and/or terminate all employees of the Corporation, except

         as otherwise provided for below with respect to Clarke, it being expressly agreed, that this

         power does not include the right to terminate a Shareholder.

         The powers given to Urrutia enumerated in this Subparagraph (C) shall lapse and revert

  to the Corporation's Board of Directors only at such time as Urrutia ceases to be President of the

  Corporation, or at such earlier time as he voluntarily relinquishes such power(s) in writing.

         (D)     Each of the Shareholders agrees that the Corporation's Board of Directors shall

  make all decisions on behalf of the Corporation except those which have been delegated to its

  President in accordance with Subparagraph (C) above. Such decisions shall, upon a vote of all

  Directors, be made based upon the Agreement of a majority of the Voting Stock (as defined

  herein).

         (E)     Voting Shares. Unless otherwise agreed to in a writing signed by Deo and Urrutia,

  the shares of stock owned by Deo and Urrutia, respectively, shall be entitled to vote. All such

  shares of stock of the Corporation shall have the right to remove a Director or overturn the

  decision of the Board of Directors only upon a majority vote of all their shares of the Corporation

  voting to either remove a Director or to overturn a decision of the Board.

  2.     ACTIONS'REQUIRING SHAREHOLDER CONSENT

         (A)     The Shareholders shall use their best efforts to insure, and the Corporation agrees

  that the following actions shall require the written consent of at least a majority of the Voting
Case 2:23-cv-06188-JMW           Document 11-6         Filed 08/20/23      Page 3 of 13 PageID #: 223



  Shares:

                 (i)     the issuance of additional capital stock by the Corporation, or, except as

         otherwise provided in this Agreement, the purchase by the Corporation of any of its

         outstanding capital stock;

                 (ii)    the amendment of the Corporation's Certificate of Incorporation and/or By-

         laws; and

                 (iii)   the merger or consolidation of the Corporation with or into another

         Corporation, or the sale of the assets of the Corporation substantially, as an entirety or

         otherwise, not in the regular and ordinary course of business;

                 (iv)    the granting of any mortgage, lien or other security interest in the assets of

         the Corporation;

                 (v)     loans and guarantees by the Corporation;

                 (vi)    sale or lease of real or personal property by the Corporation.

  3.     EMPLOYMENT AND CONSULTING AGREEMENTS

         No employment or consulting agreements shall be entered into by the Corporation without

  a majority vote of the Voting Stock.

  4.     DISTRIBUTION OF PROFITS

         No less frequently than on a quarterly basis (i.e., every three (3) months), the Corporation

  shall distribute to stockholders all profits of the Corporation, less such sums needed to meet future

  obligations as determined by Urrutia on a monthly basis. Clarke shall have the right to inspect

  books and records of the Corporation relating to Urrutia's decision regarding sums needed to

  meet future obligations, as well as the calculation employed by Urrutia to determine the amount

  of profits to be distributed to stockholders. Subject to the terms and conditions hereof, distributions

  of profit shall be made to the Shareholders in accordance with their proportionate ownership stake

  as indicated in Section 1.

  5.     TRANSFERABILITY
Case 2:23-cv-06188-JMW           Document 11-6      Filed 08/20/23     Page 4 of 13 PageID #: 224




         (A)     A Shareholder shall not sell, assign, pledge, hypothecate, encumber or otherwise

  transfer any of the shares which he or she may now or hereafter hold except in accordance with

  the provision of this Agreement.

         (B)     The Corporation agrees that it will not issue, cancel or transfer any shares in

  violation of this Agreement.

         (C)     Simultaneously with the execution and delivery of this Agreement, the following

  legend has been endorsed upon each certificate representing shares of stock of the Corporation

  held by each of the Shareholders:

         "THE TRANSFERABILITY OF THE SHARES REPRESENTED BY THIS CERTIFICATE

  IS RESTRICTED BY THE PROVISION OF ARTICLE 15 OF THE BUSINESS CORPORATION

  LAW OF THE STATE OF NEW YORK AND THE PROVISIONS OF A CERTAIN AGREEMENT

  EFFECTIVE DECEMBER                   , 2022, A COPY OF WHICH IS ON FILE AT THE

  PRINCIPAL OFFICE OF THE CORPORATION, AND ANY SUCH TRANSFER OF SUCH

  SHARES IN VIOLATION OF SUCH RESTRICTIONS IS VOID."

  Each of the Shareholders agrees that this legend shall be endorsed upon any certificate for shares

  of stock of the Corporation which may be issued in the future.

  The Corporation agrees that it will not issue any previously unissued shares or any treasury

  stock, and the Shareholders agree that they may not transfer any shares of the Corporation's

  stock except pursuant to this Agreement without: (i) the execution of an agreement, executed by

  owners of a majority of the Voting Shares and the prospective owners of such previously unissued

  shares and/or treasury stock, or the transferee of the Shareholder's shares, whereby, among

  other things, such prospective owners agree to be bound by the terms of this Agreement as

  though they were original signatories hereto.

  6.     RESTRICTIONS ON SALE OF STOCK

         (A)     Unless otherwise agreed to by a majority of the Voting Stock of the Corporation,
Case 2:23-cv-06188-JMW           Document 11-6         Filed 08/20/23      Page 5 of 13 PageID #: 225



  any Shareholder shall offer to sell all but not less than all of their shares in the Corporation to the

  Corporation. Upon receipt of said offer, the Corporation shall, if authorized by a majority of the

  Voting Stock (not including the stock owned by the Shareholder offering to sell its shares to the

  Corporation), repurchase such stock. If the Corporation purchases such shares, it must buy said

  shares at the price established in accordance with the provisions of Article "7."

         If the Corporation elects not to repurchase said stock, then the Corporation shall notify the

  offering shareholder and the remaining shareholders of this fact within thirty (30) days of receiving

  the offer to sell from the offering shareholder. The remaining shareholders shall then have a period

  of sixty (60) days from receipt of the notification of the Corporation's inability to acquire the stock

  in proportion to such remaining shareholders' then percentage of ownership, from the offering

  shareholder to purchase said stock under the same terms and conditions available to the

  Corporation.

  7.     PURCHASE PRICE AND TERMS OF PAYMENT

         (A)     The purchase price for the sale of any stock pursuant to the provisions of this

  Agreement shall be established as follows: the Corporation and the offering Shareholder shall

  each, at their own expense, hire their own business appraiser to appraise the value of the shares

  being offered. Such business appraisers selected shall have at least ten (10) years of experience

  as an appraiser of automobile dealerships. In the event the appraised values established by both

  appraisers are within ten (10%) percent of one another, the average value shall serve as the

  purchase price for such shares. In the event that the difference between appraised values is

  greater than ten (10%), the two appraisers shall hire a third business appraiser (who must also

  meet the requirements and qualifications established above in this Section 7(A)) and the valuation

  established by such third appraiser shall serve as the purchase price for the offered shares. In

  the event a third appraiser is necessary, the lower of the first two appraisals shall serve as the

  minimum purchase price and the higher of the first two appraisals shall serve as the maximum

  purchase price for the offered shares. The cost of the third appraisal shall be split evenly between
Case 2:23-cv-06188-JMW         Document 11-6        Filed 08/20/23     Page 6 of 13 PageID #: 226



  the Corporation and the offering shareholder.

         (B)     Unless otherwise agreed to in writing, upon the death of a Shareholder, and/or

  upon the occurrence of any of the events contemplated in Article 6, the purchase price for the

  shares of stock to be purchased by the Corporation shall be the value as set forth in (A) above

  or, if the Corporation has insured the life of the deceased Shareholder, 'then the insurance

  proceeds reduced by an amount, if any, to be computed by the Corporation's accountant equal

  to any tax liability incurred by the Corporation as a result of their receipt of said insurance

  proceeds, whichever is greater.

         (C)     The amount paid to a Shareholder pursuant to this Agreement whether by virtue

  of death of a Shareholder or any other form of withdrawal from the Corporation shall be increased

  or decreased in an amount equal to that Shareholder's proportionate share of net earnings or

  losses of the Corporation for the year in which the death or withdrawal occurs. The withdrawing

  Shareholder or the estate of a deceased Shareholder shall be responsible for any taxes with

  respect to the Purchase Price as described herein, including the proportionate share of net

  earnings.

         (D)     Unless stated otherwise in a separate writing, the payment of the Purchase Price

  shall be as follows:

                 (i)     Pursuant to Section 6(A). One Hundred (100%) Percent of the Purchase

         Price shall be paid on the closing date.

                 (ii)    Upon the Death of a Shareholder. If the net life insurance proceeds

         represent the Purchase Price, they shall be paid to the estate of the deceased Shareholder

         immediately upon receipt of same by the Corporation. If the stated value exceeds the net

         insurance proceeds and thereby exceeds the Purchase Price, then the net insurance

         proceeds shall represent the down payment for the purchase of the deceased

         Shareholder's shares of stock and the difference shall be paid in twelve (12) equal monthly

         installments commencing on the first day of the calendar month following the closing date
Case 2:23-cv-06188-JMW            Document 11-6         Filed 08/20/23      Page 7 of 13 PageID #: 227



          with interest at 4% Percent. In the event there are no insurance proceeds, then One

          Hundred (100%) percent of the Purchase Price shall be paid at closing.

          (E)      To secure payment of the balance of the Purchase Price due pursuant to

  Paragraphs 6 (A) or (B) above, such payments shall be evidenced by the Promissory Note of the

  Corporation or purchasing shareholder(s) which shall be a non-negotiable Promissory Note

  bearing interest at 4% Percent. If the note(s) is made by purchasing shareholder(s), it shall be

  guaranteed by Corporation. The Promissory Note(s) shall provide that: (i) it may be prepaid in

  whole or in part, without penalty; (ii) the entire balance shall become due and payable upon the

  failure of the Corporation or the Shareholder(s) to pay any installment within thirty (30) days after

  its due date; (iii) ten

          (10) days written notice of default, dishonor, protest and/or presentment shall be given to

  the Corporation(s) and the guarantors; (iv) it shall be governed by the laws of the State of New

  York.

          (F)      The "closing date" of any purchase made pursuant to this Agreement shall be as

  follows: In the event of voluntary withdrawal pursuant to paragraph 6(A), thirty (30) days after

  such voluntary withdrawal. In the event of death of a Shareholder, sixty (60) days after the death

  of the deceased Shareholder. In the event of Should the "closing date" be a Saturday, Sunday or

  legal holiday, the "closing date" shall be the next succeeding business day.

          (G)      On the "closing date" the certificate or certificates representing all of the shares of

  stock being purchased pursuant to this Agreement shall be fully endorsed in blank and delivered

  to the attorney for the Seller to be held by him in escrow to secure payment of the balance of the

  Purchase Price. Upon payment in full of the Purchase Price, the shares shall be delivered to the

  purchaser(s). The Seller shall not be entitled to vote the shares purchased hereunder as long as

  the purchaser(s) is not in default in the payment of the Promissory Note(s) to be delivered to Seller

  or Seller's estate (hereinafter the "Promissory Note"). In the event of a default under the

  Promissory Note, the attorney for the Seller shall forthwith re-deliver to the Seller that number of
Case 2:23-cv-06188-JMW           Document 11-6         Filed 08/20/23       Page 8 of 13 PageID #: 228



  shares which have not yet been paid for and for that number of shares which have been paid for,

  such shares shall be delivered forthwith to the Purchaser or Purchasers. The Seller shall regain

  exclusive equity and voting rights to the extent that the shares redelivered to Seller bear the total

  number of shares outstanding.

          If, in order to comply with the provisions hereinabove set forth with respect to delivery and

  redelivery, it is necessary that the certificate of stock representing the shares being held in escrow

  must be subdivided, then the attorney for the Seller shall call upon the Corporation to issue a new

  certificate or certificates representing that number of shares to be redelivered to the Seller and

  that number of shares to be redelivered to the Purchaser or Purchasers.

  8.      DISSOLUTION

          (A)     Upon the dissolution of the Corporation, the Shareholders agree that any amounts

  due any former Shareholder pursuant to obligations created under this Agreement and any

  disability or severance pay obligations to present or former employees of the Corporation,

  represents liabilities of the Corporation which are, in all respects, superior to any liability or other

  payment due anyone who may be a Shareholder as of the date of the dissolution with respect to

  his shares then held.

          (B)     If dissolution occurs while the Shareholders are alive, the Corporation shall be

  liquidated under supervision of Urrutia with the cooperation of all other Shareholders, and the

  corporate assets shall be distributed according to law, or as otherwise agreed upon by the

  Shareholders, subject to the rights of the creditors.

  9.      BOARD OF DIRECTORS MEETINGS

          The Shareholders, sitting as the Board of Directors of the Corporation, shall meet at least

  once annually. The dates for such meetings shall be scheduled each January by the President of

  the Corporation.

  10.     RESTRICTION ON VOLUNTARY TERMINATIONS AND WITHDRAWALS

          In the event that a shareholder withdraws from active participation in the conduct of the
Case 2:23-cv-06188-JMW          Document 11-6          Filed 08/20/23     Page 9 of 13 PageID #: 229



  business by said Shareholder's failure and refusal to participate in and to perform the duties and

  responsibilities assigned to said Shareholder, then his right to receive payment for his shares of

  stock shall still be determined in accord with the other pertinent provisions of this Agreement, but

  the obligation to make payments to which the Shareholder would be entitled in accord with the

  provisions of Article 4 above, herein shall be deferred until the expiration of the twelve (12) month

  period hereinabove referred to.

  11.    SHAREHOLDERS LOANS

         Upon a vote of a majority of all Voting Stock of the Corporation for a loan from the

  Shareholders of the Corporation, such loan shall be made in proportion to their percentage of

  ownership interest, such sums (hereinafter referred to as "Cash Calls") in amounts as may be

  required to meet present and future Corporation requirements. Any monies loaned to the

  Corporation in accordance with the terms of this provision shall bear interest at a rate determined

  by such vote of at a majority of the Voting Stock.

         Should any shareholder for any reason whatsoever fail or refuse to loan to the Corporation

  his proportionate share of any "Cash Call", the remaining shareholder(s) shall have the right, but

  not the obligation to loan to the Corporation such sums as may be required to make up the shortfall

  caused by the refusal or failure of any shareholder to meet such “Cash Call.”

         In the event that any monies loaned to the Corporation in accordance with a "Cash Call"

  have not been repaid in full within one (1) year from the date of such loan, then the "Cash Call"

  shall be deemed a "long term Cash Call" to the extent of the unpaid balance of any outstanding

  portion of such loan including both principal and interest.

         With respect to a "long term Cash Call," any shareholder who fails or refuses for any

  reason whatsoever to loan to the Corporation his proportionate share shall be deemed to have

  offered to the remaining shareholders sufficient shares held by him in the Corporation equal to

  the sums loaned in proportion to such remaining shareholders stock ownership.

         Unless otherwise agreed upon, the price per share shall be determined by paragraph "7"
Case 2:23-cv-06188-JMW           Document 11-6 Filed 08/20/23             Page 10 of 13 PageID #:
                                            230


of this agreement and upon acceptance of the non-contributing shareholder's offer as set forth

herein will result in the dilution of the non-contributing shareholder's ownership in the Corporation.

        Notwithstanding the foregoing, the remaining shareholders shall not be required to

purchase the interest of the non-contributing shareholder(s), but shall have the right instead to

treat the amount loaned to the Corporation in excess of his proportionate share ownership as a

loan.

        Any shareholder who has failed to meet its obligations pursuant to this Section 11

("Defaulting Shareholder") shall forfeit his share of the net profits of the Corporation and such

Defaulting Shareholder's proportionate share of the net profits of the Corporation shall be paid to

the Corporation. Further, such Defaulting Shareholder's proportionate share of the net profits of

the Corporation shall be paid to the Corporation until such time that the Corporation has received

the value of the Cash Call which the Defaulting Shareholder did not contribute. At such time as

the Corporation has received the value of the Cash Call(s) which the Defaulting Shareholder

previously failed to meet, the Defaulting Shareholder's right to receive a proportionate share of

the net profits of the Corporation shall be reinstated.

12.     BUSINESS RESPONSIBILITIES

        (A)     Urrutia.       In operating the Corporation, Urrutia shall have the following

responsibilities:

                (i)     final say on hiring and firing of employees        and all other personnel

        decisions, including but not limited to third party vendors, agents and/or contractors;

                (ii)    capitalization of the Corporation;

                (iii)   establishment of sales and administrative policies, as well as marketing

        techniques for automobile sales;

                (iv)    approval and management of all sales and resales of used vehicles;

                (v)     approval or disapproval of profit margins:
Case 2:23-cv-06188-JMW          Document 11-6 Filed 08/20/23              Page 11 of 13 PageID #:
                                           231


               (vi)     establishment of policies and standards for services provided by the

       Corporation, as well as supervision and complete authority over Corporation's activities;

               (vii)    review and final approval of financing arrangements with lending

       institutions to be utilized by the Corporation in financing the purchase of used vehicles by

       customers and approval of creditworthiness of potential purchasers of automobiles;

               (viii)   supervise and have complete control of the accounting department of the

       Corporation, which shall include but not be limited to sole check authorization and sole

       control of bank accounts owned by the Corporation.

               (ix)     Urrutia shall make available to the Corporation the used vehicles in

       inventory at his affiliated automobile dealerships in New Jersey (Volkswagen of Freehold

       and Team Mitsubishi of Hartford).

       In performing the above services, in each instance, Urrutia shall not be required to obtain

the consent of any other Shareholder(s).

       (B)     Deo. In operating the Corporation, Deo shall have the following responsibilities:

               (i)      Deo shall propose the individual who will serve as the General Manager of

the day-to-day operations of the Corporation as a used motor vehicle dealership. Urrutia shall

have final authority to approve or reject such hire. If the individual is ultimately hired, they shall

report to both Deo and Urrutia directly and shall be required to be present at the dealership for all

operating hours as a full-time employee.

13.    MISCELLANEOUS

       (A)     This Agreement shall not be changed, modified or amended except by a writing

signed by the Shareholders and this Agreement may not be discharged except by performance

in accordance with its terms or by a writing signed by the Shareholders.

       (B)     This Agreement, including all schedules referred to herein, sets forth the entire

agreement and understanding between the Shareholders as to the matters contained herein, and

merges and supersedes all prior discussions, and understandings of every kind and nature among
Case 2:23-cv-06188-JMW          Document 11-6 Filed 08/20/23             Page 12 of 13 PageID #:
                                           232


them. No Shareholder shall be bound by any condition, definition, warranty, or representation

other than as expressly provided for in this Agreement.

       (C)      This Agreement shall be binding upon, and inure to the benefit of, the Shareholder

hereto and their respective heirs, executors, legal representatives, successors and permitted

assigns. This Agreement and the Shareholder's rights and obligations hereunder may not be

delegated or assigned by any Shareholder except on the prior written consent of a majority of the

Voting Stock.

       (D)      All notices, requests, demands and other communications provided for in this

Agreement shall be in writing and shall be deemed to have been given at the time when personally

delivered, or mailed to any general or branch United States Post Office, enclosed in a registered

or certified post-paid envelope, return receipt requested, addressed to the address of the Party

stated at the beginning of this Agreement or to such other address as such Party may have fixed

by notice, provided, however, that any such notice of change of address shall be effective only

upon receipt.

       (E)      If any provision of this Agreement or the application of any provision hereof to any

person or circumstance is held invalid, the remainder of this Agreement and the application of

such provision to other persons or circumstances shall not be affected unless the invalid provision

substantially impairs the benefits of the remaining portions of this Agreement.

       (F)      This Agreement shall be governed by and construed under the laws of the State

of New York.

       (G)      The headings of the paragraphs hereof are inserted only for the convenience of

the Parties and in no way define, limit or prescribe the intent of this Agreement.

       (H)      Whenever used herein and required by the context the singular number shall

include the plural, the plural shall include the singular number, and the use of either gender shall

include both genders, and the words "hereof' and "herein" and "hereafter" and "hereto" shall refer

to this entire Agreement and not to any provision, paragraph, subparagraph or section.
Case 2:23-cv-06188-JMW   Document 11-6 Filed 08/20/23   Page 13 of 13 PageID #:
                                    233
